EXHIBIT 33
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



 AMERICAN ASSOCIATION OF
 UNIVERSITY PROFESSORS—HARVARD
 FACULTY CHAPTER et al.,                            Case No. 1:25-cv-10910

                        Plaintiffs,

                v.

 UNITED STATES DEPARTMENT OF
 JUSTICE et al.,

                        Defendants.



                            DECLARATION OF JULES RIEGEL

I, Jules Riegel, hereby declare as follows:

       1.      I am a Lecturer on History and Literature at Harvard University.

       2.      I hold a PhD in Modern European History and a Master of History from Indiana

University Bloomington.

       3.      My research and teaching focuses on the Holocaust, World War II, and global

transgender history.

       4.      I am a member of the Harvard Academic Workers, one of the two collective bar-

gaining units of Harvard’s chapter of the International Union, United Automobile, Aerospace and

Agricultural Implement Workers of America (“HAW–UAW”).

       5.      I am over the age of 18 and competent to testify as to the matters set forth in this

affidavit based on my own personal knowledge.

       6.      I am aware that the Trump administration has taken a series of actions targeting

Harvard. In particular, I am aware that on March 10, 2025, the federal government sent a letter to
Harvard and other universities warning of potential enforcement actions. I am aware that on March

31, 2025, the federal government announced a comprehensive review of federal contracts and

grants at Harvard University and its affiliates. I am aware that officials from the Trump admin-

istration sent a letter to Harvard on April 3, 2025 demanding that Harvard immediately take a long

list of actions to remain a recipient of federal funding (the “April 3 Letter”). I am aware that this

was followed by a subsequent letter from Trump administration officials on April 11, 2025 with

more detailed demands that “incorporate[d] and supersede[d] the terms” of the April 3 Letter and

which the Trump administration proposed would serve “as the basis for an agreement in principle

that will maintain Harvard’s financial relationship with the federal government” (the “April 11

Letter,” and together with the April 3 Letter, the “Demand Letters”). Both of the Demand Letters

were made public and I have read the demands listed in the Demand Letters.

       7.       I am aware that, on April 14, 2025, the DOJ Task Force to Combat Anti-Semitism

froze over $2 billion in federal grants to Harvard. I understand that the federal government has

since refused to disburse funds obligated to these grants despite receiving requests from Harvard

University to do so.

       8.      I am aware that on May 5, 2025, Secretary of Education Linda McMahon an-

nounced that “Harvard should no longer seek GRANTS from the federal government, since none

will be provided.” I am aware that on May 6, 2025, the National Institutes of Health (“NIH”)

terminated its grants to Harvard. I am aware that on May 9, 2025, the Department of Agriculture

terminated its grants to Harvard. I am aware that on May 12, 2025, the Department of Energy,

Department of Defense, the National Science Foundation, and the Department of Housing and

Urban Development each terminated their grants to Harvard. Letters communicating each of these




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terminations were made public, and I have read each of those letters. The government has now

canceled about $2.7 billion in federal grants to Harvard.

       9.      I am also aware of a variety of “stop work” orders that have been issued by federal

funding agencies to grants held by researchers working at Harvard beginning in February 2025. I

am aware that on April 4, 2025, the Boston Globe reported on a federal government memorandum

issued March 31 that specified grants for specific research projects the current administration is

targeting. I know that some of these grants belong to UAW members.

       10.     I am also aware of public statements made by the Trump administration beginning

in early 2025 attacking the work of university researchers and the integrity of American universi-

ties and making a range of threats about how the federal government intended to use its authority

to impose numerous demands on Harvard University specifically.

       11.     The terminations of Harvard’s federal funding and related demands by the Trump

administration that Harvard make changes to retain its funding have had a chilling effect on my

actions and the actions of those around me.

       12.     Because of these actions, I have had to reevaluate how I can safely teach courses

on topics including global transgender history, World War II, and the Holocaust. For example, I

decided not to teach a course on global transgender history in the upcoming fall semester due to

fear of content-based retaliation, fear for my students’ safety, and fear for myself as an openly

transgender individual.

       13.     While I plan to teach courses on World War II and the Holocaust next year, since

the April 11 Letter, I have been increasingly worried about how the administration’s demands for

“viewpoint diversity” and attacks on diversity, equity, and inclusion may affect these courses, in-

cluding both curricular and pedagogical changes.




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        14.     Additionally, the vagueness of the administration’s attacks, using language like

“ideological capture” in the April 11 Letter has created an environment of uncertainty around what

is safe to teach or discuss in a classroom setting.

        15.     I am specifically concerned about the administration’s goal of “reducing the power

held by students and untenured faculty” and by those “more committed to activism than scholar-

ship,” as announced in the April 11 Letter. As a non-tenure-track faculty member who is also

engaged in activism in addition to my scholarship, I am concerned that these attacks may result in

me having even less control around my curriculum, such as hindering my ability to determine my

own course content, or being forced to teach content with which I disagree.

        16.     There is broad concern within my department about how these policies may affect

faculty, staff, and students.

        17.     I am fearful for the safety of my students, especially international students or stu-

dents with immigrant backgrounds, including their ability to engage with critical scholarship

around the Holocaust and transgender history.

        18.     Because of the administration’s actions, I could not in good conscience recommend

that doctoral applicants attend Harvard right now.



I declare under penalty of perjury under the laws of the United States of America that the foregoing

is true and correct.

Dated: May 31, 2025                                   Signed: /s/ Jules Riegel

                                                      Jules Riegel
                                                      Lecturer on History and Literature




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